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               11 COMMUNICATIONS, INC., AND
                  CELLCO PARTNERSHIP D/B/A
               12 VERIZON WIRELESS
               13
                                       UNITED STATES DISTRICT COURT
               14
                                     SOUTHERN DISTRICT OF CALIFORNIA
               15
               16 CARUCEL INVESTMENTS, L.P., a            CASE NO. 3:16-cv-00118-H-KSC
                  Delaware limited partnership,
               17              Plaintiff,
               18                                         DEFENDANTS’ OPPOSITION TO
                        v.                                PLAINTIFF’S MOTION IN
               19                                         LIMINE #1
                  NOVATEL WIRELESS, INC., a
               20 Delaware corporation, VERIZON           Date: April 3, 2017
                  COMMUNICATIONS, INC., a Delaware        Time: 9:00 a.m.
               21 corporation, CELLCO PARTNERSHIP         Courtroom: 15A
               22 D/B/A VERIZON WIRELESS, a               Judge: Hon. Marilyn L. Huff
                  Delaware general partnership,
               23
               24              Defendants.
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                                                                           Case No. 3:16-cv-00118-H-KSC
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                 1 I.         DEFENDANTS SHOULD NOT BE BARRED FROM USING
                              NEUTRAL AND FACTUAL DESCRIPTIONS OF PLAINTIFF
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                              Plaintiff seeks an order precluding “derogatory and/or misleading references
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                        to Carucel’s business,” such as “patent troll,” “patent assertion entity,” “a company
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                        that just sues people for money” or similar prejudicial characterizations. Defendants
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                        agree not to use derogatory terms (“patent troll” and “a company that just sues
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                        people for money”), but also respectfully request an order that recognizes and
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                        protects Defendants’ right to describe Plaintiff’s business in terms other courts have
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                        repeatedly found are neutral and factual, including “patent assertion entity.”
                 9
                              The same cases Plaintiff now cites in support of its motion have recognized
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                        that Defendants “may, however, describe the nature of [Plaintiff’s] business with
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                        neutral, strictly factual terms, such as ‘patent assertion entity,’ a ‘company that does
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                        not make anything, a company that does not sell anything,’ or ‘licensing entity’.”
               13
                        Digital Reg of Texas, LLC v. Adobe Sys., Inc., 2014 WL 4090550, at *12 (N.D. Cal.
               14
                        Aug. 19, 2014) (emphasis added) citing HTC Corp. v. Tech. Props. Ltd., 2013 WL
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                        4782598, at *4 (N.D. Cal. Sept. 6, 2013) (allowing terms such as “non-practicing
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                        entity,” “patent assertion entity,” and related terms) (emphasis added). This is so
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                        because Plaintiff’s “status as a non-practicing entity is relevant to damages and the
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                        Georgia–Pacific factors.” Id. Rembrandt Wireless Techs., LP v. Samsung Elecs.
               19
                        Co., 2015 WL 627430, at *1 (E.D. Tex. Jan. 31, 2015) (Defendants not precluded
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                        from arguing “Plaintiff is a patent assertion entity that does not manufacture or sell
               21
                        products in this field” or “characterizing Plaintiff as an entity that licenses and
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                        litigates, so long as those terms are used in conjunction with one another.”)
               23
                        (emphasis added); Droplets, Inc. v. Overstock.com, Inc., 2014 WL 11515642, at *1
               24
                        (E.D. Tex. Dec. 10, 2014) (“This limine shall not prevent Defendants from referring
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                        to Plaintiff as a ‘patent assertion entity’ or ‘non-practicing entity’.”).
               26
                              As is apparent from the decisions cited above, the majority of courts routinely
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                        allow Defendants to use the term “patent assertion entity” in circumstances such as
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                 1 here, where there is no factual dispute over the fact that plaintiff is solely a patent
                 2 assertion entity. The two cases Plaintiff cites where courts have excluded the term
                 3 “patent assertion entity” are easily distinguished. In Finjan, Inc. v. Blue Coat Sys.,
                 4 Inc., 2015 WL 4129193, (N.D. Cal. July 8, 2015), the court barred the term “patent
                 5 assertion entity” because, unlike here, it was disputed whether Finjan – a well-
                 6 established company with a track record of actually making and selling products1 –
                 7 was “solely” a patent assertion entity. Likewise, the plaintiff in Energy Heating,
                 8 LLC v. Heat On-The-Fly, LLC, 2015 WL 11143139 n.1 (D.N.D. Aug. 13, 2015), the
                 9 only other case that Carucel cites for the proposition that the term “patent assertion
               10 entity” should be excluded, is (unlike Carucel) a company that does much more than
               11 assert its patents.2 Carucel, on the other hand, has no history of making or bringing
               12 a product to market. Therefore, the term “patent assertion entity” here is an accurate
               13 description of Plaintiff’s business and should be allowed.
               14 II.       CONCLUSION
               15           For these reasons, Defendants respectfully request that Plaintiff’s Motion in
               16 Limine #1 be granted only in as far as it does not prejudice Defendants’ ability to
               17 describe the plaintiff in neutral, strictly factual terms, such as “non-practicing
               18 entity,” “patent assertion entity,” a “company that does not make anything,” a
               19 “company that does not sell anything,” or “licensing entity.”
               20
               21       1
                         The plaintiff in Finjan previously “provided secure web solutions, including
               22 security software and hardware, to the enterprise and endpoint markets” and then
                  migrated “from a pure software company into a diversified hardware and software
               23 platform technology provider” that “focused its efforts on further research &
               24 development and began sales and marketing activities.” See
                  https://www.finjan.com/about/history.
               25     2
                         Heat On-the-Fly’s proprietary methods for heating water “is the culmination
               26 of nearly 20 years of field experience in water heating” and the company prides
                  itself in “scientific inquiry and practical application.”
               27
                  http://www.heatonthefly.com/Background.html.
               28

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                 1 Dated: March 20, 2017       QUINN EMANUEL URQUHART
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                 2
                 3
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                 1                              CERTIFICATE OF SERVICE
                 2           The undersigned hereby certifies that a true and correct copy of the above and
                 3 foregoing document has been served on March 20, 2017 to all counsel of record
                 4 who are deemed to have consented to electronic service via the Court’s CM/ECF
                 5 system per Civil Local Rule 5.4. Any other counsel of record will be served by
                 6 electronic mail, facsimile and/or overnight delivery.
                 7
                 8
                        DATED: March 20, 2017          By: /s/ Amar L. Thakur
                 9                                        Amar L. Thakur
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               10                                         Attorneys for Defendants Novatel Wireless,
               11                                         Inc., Verizon Communications, Inc. and
                                                          Cellco Partnership d/b/a Verizon Wireless
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